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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK



THE NEW YORK TIMES COMPANY,
                 Plaintiff,                   Civil Action No. 1:23-cv-11195-SHS

                    v.
MICROSOFT CORPORATION, OPENAI, INC.,
OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
OPENAI OPCO LLC, OPENAI GLOBAL LLC,
OAI CORPORATION, LLC, and OPENAI
HOLDINGS, LLC,

                 Defendants.


PLAINTIFF’S RESPONSE TO DEFENDANT OPENAI OPCO, LLC’S OBJECTION TO
     NONDISPOSITIVE ORDER PURSUANT TO FEDERAL RULE OF CIVIL
                     PROCEDURE 72(a) (DKT. 362)
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       Plaintiff The New York Times Company (“The Times”) respectfully submits this

opposition to OpenAI’s request under Federal Rule of Civil Procedure 72(a) to modify or set aside

Magistrate Judge Wang’s November 22, 2024 Order. See Dkt. 344. As set forth below, Judge

Wang’s well-reasoned decision should be affirmed.

                                      INTRODUCTION

       From the inception of this litigation, OpenAI has mischaracterized The Times’s lawsuit as

an indictment of generative AI generally, seeking to distract from its own massive copyright

infringement by accusing other companies of doing the same thing. But there are only two

defendants in this case, Microsoft and OpenAI, and the question of whether other companies

engaged in illegal copying is simply not one that can be answered here. Nor is The Times “speaking

out of both sides of its mouth” by using generative AI technology, as OpenAI contends, Dkt. 363

at 1, because The Times does not use other people’s copyrighted content to build large-language

models (“LLMs”), see Exhibit (“Ex.”) 1 ¶ 4 (Affidavit of Karen Chesley). To the extent that The

Times develops generative AI tools, it has done so using LLMs created by others, and pays the

fees those developers—including OpenAI—charge to do so. See Ex. 1 ¶ 6. And where Defendants’

technology is used to aid Times reporting or its presentation of content, The Times has already

agreed to produce documents to OpenAI, along with a host of other documents relating to its

generative AI policies and use of AI for journalism.

       What Defendants seek here is much broader: discovery into generative AI generally,

regardless of which company developed it or why, along with anything related to “AI” or

“copyright.” Dkt. 236-1 at 11. As Magistrate Judge Wang recognized during oral argument, such

a request would encompass tools like autocorrect and spell check. See September 12, 2024 Hrg.

Transcript at 112:21-22. Moreover, as a news publisher, The Times’s entire business relates to



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“copyright” because that is the means through which The Times protects and monetizes the works

it creates. Nonetheless, according to Defendants, such discovery is necessary because any benefits

from any generative AI “technology” could support its fair use defense. See Dkt. 363 at 1; Dkt.

236 at 1. Judge Wang correctly held that this is wrong. The fair use inquiry looks not at benefits

from a general technology, but rather at any potential benefits The Times may be reaping from

Defendants’ specific use of copyrighted content—in this case, Defendants’ copying of The Times’s

works to train and operate their generative AI tools. Put differently, even if OpenAI could prove

that The Times is benefitting from the use of a Google generative AI tool, that would have no

bearing on OpenAI’s fair use defense. Accordingly, only “benefits” that The Times receives from

Defendants’ tools could ever possibly be relevant, and The Times has agreed to produce responsive

documents regarding its use of those tools for its journalism. The further discovery sought by

OpenAI is neither relevant nor proportional to OpenAI’s fair use defense.

       Because OpenAI has not met its exacting burden of demonstrating that Judge Wang’s

decision is clearly erroneous or contrary to law, its Objection should be denied.

                                        BACKGROUND

  I.   The Times’s Complaint Alleges Harm from Defendants’ Unlicensed Use of The
       Times’s Content and the Infringing Outputs of Defendants’ Tools.

       At issue in this case are Defendants’ generative AI products, including OpenAI’s ChatGPT

tool and Microsoft’s Bing Chat (now “Copilot”). The Times alleges that Defendants build and

operate their generative AI tools by copying millions of The Times’s copyrighted works without

The Times’s consent and without compensation. See Dkt. 170 at 2. Specifically, The Times’s

allegations focus on the harm from Defendants’ actions: their copying of The Times’s content

during training, the synthetic search process using retrieval augmented generation (“RAG”), and

the generation of outputs in response to user prompts. See id. The Complaint is not, as OpenAI



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suggests, an indictment of generative AI technology generally. There are other lawsuits pending

against different generative AI developers that will address any liability they may have for

copyright violations, but this is not one of them.

 II.   Magistrate Judge Wang’s Well-Reasoned November 22, 2024 Order was Consistent
       with Governing Law.

       Defendants have collectively served 359 requests for production on The Times, many of

which were facially overbroad and irrelevant. When The Times objected, OpenAI filed a series of

motions to compel, seeking—among other things—privileged documents about The Times’s

infringement investigation and all reporters’ files for the 10 million Times works that OpenAI

copied. See Dkts. 124, 152. Judge Wang carefully reviewed OpenAI’s motions and the parties’

arguments, and denied each motion. Undeterred, on September 3, 2024, OpenAI sought to compel

production of The Times’s use of nonparties’ generative AI tools, The Times’s creation and use of

its own generative AI products, and all Times communications regarding “copyright” and “AI.”

See Dkt. 236 at 1.

       On November 22, 2024, the Court denied OpenAI’s motion to compel, holding it “failed

to demonstrate the relevance of the information sought.” Dkt. 344 at 6. In reaching this conclusion,

the Court first outlined the four statutory fair use factors and correctly noted that each factor

“requires scrutiny of a defendant’s purported use of the copyrighted work(s), and whether that

defendant’s use may constitute ‘fair use’ under the Act.” Id. at 2; see also Andy Warhol Found. for

the Visual Arts, Inc. v. Goldsmith, 598 U.S. 508, 527–28 (2023) (noting that in assessing the first

statutory fair use factor, a court considers “the copier’s use of an original work” (emphasis added));

Google LLC v. Oracle Am., Inc., 593 U.S. 1, 35 (2021) (noting that in assessing the fourth statutory

fair use factor, a court “must take into account the public benefits the copying will likely produce”

(emphasis added)). In other words, the Court reasoned that the fair use factors did not require it to



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examine the entire generative AI industry, whether The Times had used tools from that industry,

or the effect those tools had on The Times’s business practices. See Dkt. 344 at 2–3, 5. The Court

noted that its conclusion was bolstered by the fact that The Times’s Amended Complaint was

“tightly focused on Defendant’s particular Gen AI products and [its] alleged use of The Times’s

copyrighted content,” rather than alleging a “wholesale indictment of Gen AI tools,” as Defendant

repeatedly claimed. Id. at 3.

        In so holding, the Court rejected OpenAI’s reading of Google LLC v. Oracle America, Inc.,

593 U.S. 1 (2021). See Dkt. 344 at 4. OpenAI contended that Google was “binding” precedent that

supported its position that “[e]vidence regarding [T]he Times’s creation, use, and positions on

generative AI generally is directly relevant” to the first and fourth statutory fair use factors because,

they claimed, analyzing other parties’ generative AI tools would somehow show that OpenAI’s

technology “serves the public interest generally.” Dkt. 236 at 1. However, the Court correctly

noted that “the Supreme Court suggested a more nuanced view of the market effects” inquiry in

the fourth fair use factor; Dkt. 344 at 4, specifically, one that requires a court to assess “the public

benefits the copying will likely produce,” Google, 593 U.S. at 35 (emphasis added). And, in

assessing the public benefits from the copying, the Court stated that discovery “would be directed

to the Defendant and the public benefits of its copying, not whether nonparties’ Gen AI tools . . .

serve a general public benefit.” Dkt. 344 at 4 (emphasis added). Accordingly, the Court concluded

that “[w]hether nonparties’ Gen AI tools confer benefits on the journalism industry is not relevant

to a determination of whether Defendant’s acts—i.e., the alleged copying involving Defendant’s

Gen AI tools—constitute fair use.” Id. at 5.




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III.    The Times Already Agreed to Produce a Substantial Number of Documents About
        its Use of Defendants’ Generative AI Products.
        OpenAI’s effort to overturn Judge Wang’s order follows its pattern of demanding

discovery that is irrelevant, unduly burdensome, and wildly disproportionate to the needs of this

case. OpenAI sought three categories of discovery about generative AI: (1) The Times’s use of

generative AI, see Dkt. 236-1 at 14–15, (2) The Times’s training of its own generative AI tools,

see id. at 15–16, and (3) The Times’s “policies and procedures” regarding generative AI, see id. at

7–8, 9, 11. Many of OpenAI’s requests were facially irrelevant. For example, RFP 50 seeks

documents about an AI tool that was designed to examine satellite images to trace the path of a

“Chinese spy balloon” spotted in 2023 for reporting purposes. See id. at 15–16. The AI satellite

tool uses AI, not generative AI, so it does not even meet OpenAI’s overbroad relevance theory.

        Notwithstanding its concerns about overbreadth and relevance, The Times attempted to

compromise by agreeing to produce nonprivileged documents: (1) regarding The Times’s use of

Defendants’ generative AI tools in reporting or presenting content, see id. at 15 (OAI RFP 49); (2)

regarding The Times’s trainings and policies about using generative AI, see id. (OAI RFP 46);

(3) relating to The Times’s A.I. Initiatives program, see id. (OAI RFP 47); and (4) involving

communications between The Times and third parties regarding Defendants’ use of The Times’s

content in their generative AI products and whether to license The Times’s works to OpenAI, see

id. at 14–15 (RFP 44). See Ex. 2. The Times’s AI Initiatives program was developed to consider

how The Times might leverage generative AI and other forms of machine learning for the benefit

of The Times’s journalists and readers. 1 While The Times disagrees that discovery into its use of

non-party generative AI tools is relevant to this case, The Times offered discovery regarding this



1
  See The New York Times, “Introducing the A.I. Initiatives Team,” May 9, 2024, available at
https://www.nytco.com/press/introducing-the-a-i-initiatives-team/.


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program—discovery that concerns such non-party tools—in an effort to compromise with OpenAI,

which at that time indicated its focus was on how generative AI tools could aid journalism.

       Nevertheless, OpenAI remains dissatisfied. More specifically, OpenAI seeks to compel

production of The Times’s use of nonparties’ generative AI tools, The Times’s creation and use of

its own generative AI products, and all Times communications regarding “copyright” and “AI.”

See Dkt. 236 at 1. For the Court’s convenience, The Times has attached an appendix which outlines

the requests relevant to OpenAI’s motion to compel and the responsive discovery The Times has

agreed to produce. See Ex. 2.

                                      LEGAL STANDARD

       Under Federal Rule of Civil Procedure 72(a), “a magistrate judge’s discovery ruling is a

non-dispositive order which can only be overturned if it is ‘clearly erroneous or contrary to law.’”

Madi v. United Parcel Serv. Gen. Serv. Co., 1999 WL 193403, at *1 (S.D.N.Y. Apr. 7, 1999)

(quoting Fed. R. Civ. P. 72(a)). “A finding is clearly erroneous if the reviewing court is left with

the definite and firm conviction that a mistake has been committed.” Coventry Cap. US LLC v.

EEA Life Settlements Inc., 333 F.R.D. 60, 64 (S.D.N.Y. 2019) (quoting R.F.M.A.S., Inc. v. So, 748

F. Supp. 2d 244, 248 (S.D.N.Y. 2010)). “Similarly, a finding is contrary to law when it fails to

apply or misapplies relevant statutes, case law, or rules of procedure.” Id. (quoting R.F.M.A.S.,

Inc., 748 F. Supp. 2d at 248).

       “Therefore, pursuant to these standards, a magistrate judge’s determinations on discovery

matters are entitled to substantial deference.” R.F.M.A.S., Inc., 748 F. Supp. 2d at 248; see Nikkal

Indus., Ltd. v. Salton, Inc., 689 F. Supp. 187, 189 (S.D.N.Y. 1988) (“Consistently, it has been held

that a magistrate’s report resolving a discovery discourse between litigants should be afforded

substantial deference and be overturned only if found to be an abuse of discretion.”). “The




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magistrate judge’s findings should not be rejected merely because the court would have decided

the matter differently.” Kumaran v. Vision Fin. Markets, LLC, 2022 WL 17540669, at *6

(S.D.N.Y. Dec. 6, 2022). “The party seeking to overturn a magistrate judge’s decision thus carries

a heavy burden.” R.F.M.A.S., Inc., 748 F. Supp. 2d at 248 (quoting U2 Home Ent., Inc. v. Hong

Wei Int’l Trading Inc., 2007 WL 2327068, at *1 (S.D.N.Y. Aug. 13, 2007)).

                                            ARGUMENT

        OpenAI has failed to satisfy its heavy burden of demonstrating that Magistrate Judge

Wang’s November 22, 2024, Order was clearly erroneous or contrary to law. OpenAI’s argument

is really that a broader industry analysis of all generative AI tools is needed to establish its fair use

defense. But that is not the law, as set forth below. First, the Court appropriately considered the

four statutory fair use factors when resolving this discovery dispute. Second, the Court correctly

ruled that OpenAI’s discovery requests were not relevant to the market harm inquiry—that is, the

fourth statutory fair use factor. And third, the Court properly determined that The Times’s use of,

and comments about, “generative AI generally” were not relevant to assessing whether OpenAI’s

unauthorized use of The Times’s works provided a public benefit or was transformative. See Dkt.

344 at 5. Magistrate Judge Wang’s Order should be affirmed.

  I.    The Court Properly Considered the Statutory Fair Use Factors.

        First, OpenAI argues that the Court clearly erred in limiting its fair use analysis to “the

statutory factors in Section 107” because it should instead have considered unspecified “issues

beyond the statutory language in Section 107.” Dkt. 363 at 11. However, OpenAI does not offer a

single controlling case in which a court went beyond the statutory factors when resolving a fair

use dispute, nor does it explain what “issues” it was clear error for Judge Wang to purportedly

ignore. Indeed, in Google—the case that OpenAI hinges much of its position on—the Supreme




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Court explicitly limited its analysis to the four statutory fair use factors and rejected the parties’

invitation to consider extra-statutory factors. See Google, 593 U.S. at 32–33 (refusing to consider

whether “bad faith has any role in a fair use analysis” and limiting its analysis to the Section 107

statutory fair use factors). Consistent with this precedent, Magistrate Judge Wang—while

acknowledging that the statutory factors are “non-exclusive”—also declined to consider OpenAI’s

extra-statutory arguments in determining that OpenAI’s discovery requests were not relevant to

the issue of fair use. See Dkt. 344 at 2; see also Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569,

578–94 (1994) (limiting fair use analysis to the Section 107 factors); Hachette Book Grp., Inc. v.

Internet Archive, 115 F.4th 163 (2d Cir. 2024) (same). In light of the clear weight of authority that

has resolved the fair use issue with reference to the statutory factors alone, it cannot be said that

the Court clearly erred in declining to go beyond them.

    II.   OpenAI’s Requests Are Not Relevant to the Market Harm Inquiry.

          Second, OpenAI argues that the Court clearly erred in ruling that The Times’s use of, and

positions about, “generative AI generally” were not relevant to the market harm inquiry—that is,

the fourth statutory fair use factor. 2 See Dkt. 363 at 13. This argument fails for several reasons.

             A. OpenAI waived this argument by failing to raise it to Judge Wang.

          In its September 3, 2024, submission to Magistrate Judge Wang, OpenAI primarily based

its motion to compel on the “public benefits” prong of the fourth fair use factor. See Dkt. 236 at 1;

see also Dkt. 373 at 9 (OpenAI’s Second Rule 72(a) Brief) (noting that in Magistrate Judge Wang’s

November 22, 2024 Order, she denied “OpenAI[’]s request to compel production of documents

based on the ‘public benefits’ prong of the fair use defense”). However, in its instant Rule 72(a)


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 The Times has provided a substantial number of documents related to its “positions about” generative AI. The
Times has agreed to produce, among other things, (1) its guidance on the use of generative AI tools, (2) any related
non-privileged notes and talking points, and (3) communications with government agencies regarding generative
AI—which are all directly responsive to OpenAI’s RFPs. See Dkt. 236-1 at 7-9, 11.


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motion, OpenAI now argues, for the first time, that the requested evidence is also allegedly

“relevant to the question [of] whether there is a” licensing market for the underlying data. Dkt. 363

at 14. OpenAI has forfeited this argument by not adequately raising it before Magistrate Judge

Wang in its September 3, 2024 submission—or indeed, in any of its prior discovery

correspondence with The Times—without providing any reason for its failure to do so. See United

States v. Gomez, 877 F.3d 76, 95 (2d Cir. 2017) (noting that courts typically do not exercise their

discretion to hear a forfeited argument when it “was ‘available to the parties below and they proffer

no reason for their failure to raise the arguments below’” (quoting Bogle-Assegai v. Connecticut,

470 F.3d 498, 504 (2d Cir. 2006))).

            B. The Times’s use of third-party generative AI products is irrelevant to the
               market harm inquiry.

        Even if this Court overlooks OpenAI’s waiver, its argument is meritless. The fourth fair

use factor assesses “the effect of the use upon the potential market for or value of the copyrighted

work.” 17 U.S.C. § 107(4). In evaluating this factor, courts analyze “whether there was harm to

the actual or potential markets for the copyrighted work.” Google, 593 U.S. at 26. More

specifically, “[t]his factor ‘focuses on whether the copy brings to the marketplace a competing

substitute for the original, or its derivative, so as to deprive the rights holder of significant revenues

because of the likelihood that potential purchasers may to opt to acquire the copy [rather than] the

original.’” Hachette Book Grp., Inc., 115 F.4th at 189 (second alteration in original) (quoting

Authors Guild v. Google, Inc., 804 F.3d 202, 223 (2d Cir. 2015)). “[T]he ultimate burden of

proving that the secondary use does not compete in the relevant market is appropriately borne by

the party asserting the [fair use] defense: the secondary user.” Id. at 194.

        Here, “the use” and “the copy” at issue are OpenAI and Microsoft’s unauthorized uses and

copying of The Times’s asserted works, and “the potential market” is the market for the same



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Times’s works. The Times has already agreed to produce ample evidence about that market and

The Times’s licensing efforts, including: (i) licensing agreements related to the asserted works,

regardless of whether those licenses relate to generative AI; (ii) documents sufficient to show all

attempts to license the asserted works for training or use in generative AI; and (iii) communications

related to executed and contemplated agreements to license Times works to train and operate

generative AI models. See Dkt. 310-1 at 45–46.

       The Times’s use of its own or third-party generative AI tools, built upon LLMs trained by

non-parties, is entirely irrelevant to the market harm inquiry. See Campbell, 510 U.S. at 590

(holding that analyzing market harm requires courts to consider “whether unrestricted and

widespread conduct of the sort engaged in by the defendant . . . would result in a substantially

adverse impact on the potential market for the original” (emphasis added) (omission in original));

Am. Geophysical Union v. Texaco Inc., 60 F.3d 913, 927 (2d Cir. 1994) (noting that in evaluating

a defendant’s fair use claim, “the analysis under the fourth factor must focus on the effect of [the

defendant’s copying] upon the potential market for or value of [the plaintiff’s] individual articles”).

Such use has no bearing on the impact of Defendants’ products on the market for The Times’s

works. And OpenAI does not even attempt to demonstrate how all of The Times’s communications

regarding “copyright” and “AI” bear on the market harm inquiry. Indeed, they are facially

overbroad and The Times has already agreed to provide extensive responsive discovery related to

these topics. See Ex. 2.

       OpenAI also contends that The Times “conceded the relevance of [such] market-related

evidence” by serving “subpoenas on numerous third-party developers of large language models,”

seeking discovery into their “[l]icensing agreements with content owners.” Dkt. 363 at 15 (second

alteration in original). Thus, OpenAI asserts The Times “should not be permitted to withhold




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evidence of its own assessment of the existence or absence of a market for licensing content for

generative AI products while at the same time demanding market-related evidence from third

parties.” Id. This is a red herring. As an initial matter, OpenAI is simply wrong that The Times is

withholding this information; in fact, The Times has already agreed to provide exactly the types

of licensing information it is seeking from third parties, as discussed above. This type of evidence,

which specifically relates to outbound licensing of protected publisher content and the licensing

market for publishers’ works, is clearly relevant, but it has nothing to do with all documents and

communications relating to The Times’s internal use of, and comments about, generative AI

generally.

       OpenAI’s argument—that “The Times’s decision to use [non-Defendants’ generative AI]

models knowing that they were trained on unlicensed data” (like The Times’s own protected

content) would somehow validate Defendants’ own unauthorized copying practices—is also

misguided. Dkt. 363 at 14. Because The Times relies on LLMs built by third parties, see Ex. 1 ¶ 5,

any discovery OpenAI could seek would necessarily have to be focused on the conduct of third

party AI developers, not The Times. This would in turn require extensive discovery into whether

those companies copied Times content (and how much), how they used it to train their LLMs,

whether those LLMs are prone to outputting Times content, how Times content was used by those

companies to power their own synthetic search products, and the commercial nature of those

companies’ uses. And, once OpenAI had this discovery, it would be asking the Court to reach

factual conclusions about how that third-party misconduct affected the market for The Times’s

intellectual property, all in service of an illogical argument that The Times is a hypocrite merely

because it uses third-party generative AI products while seeking compensation for the

misappropriation of its intellectual property to build different generative AI products. But internal




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use of tools by The Times is wholly unrelated to determining whether or not widespread

infringement of The Times’s intellectual property by Defendants—or anyone else—has or will

harm the relevant market; namely, The Times’s ability to license its works for generative AI

training. See Hachette Book Grp., Inc., 115 F.4th at 189. Accordingly, The Times’s use of any

such tools is simply not relevant to evaluating the effects of Defendants’ infringing tools on the

market for The Times’s works.

       C. Google does not support OpenAI’s discovery request.

       Likely recognizing the futility of its position, OpenAI hinges the remainder of its argument

on two passing statements in Google v. Oracle. In outlining the evidence the jury heard in reaching

its verdict for Google, the Supreme Court acknowledged that the plaintiff had made numerous

unsuccessful “efforts to move into the mobile phone market,” Google, 593 U.S. at 36, and that the

plaintiff’s “executives thought that widespread use of the [defendant’s product] would benefit the

[plaintiff] company,” id. at 31. Based on these two observations, OpenAI concludes that the

Supreme Court endorsed the broad view that a plaintiff’s activities are always relevant to the fair

use inquiry, and that view is purportedly “binding” on the Court. See Dkt. 363 at 15. That is

incorrect.

       In Google, the Supreme Court considered whether Google’s copying of a copyrighted

computer program developed by Sun—which Oracle acquired in 2010—constituted a fair use. In

its discussion of the fourth fair use factor, the Supreme Court observed that not every harm to a

company’s revenue from copying cuts against fair use: rather, a court must consider “the source

of the loss.” Google, 593 U.S. at 35. Copying that results in a market substitute, and loss flowing

from that substitution, weighs heavily against fair use; but loss flowing from, for instance, a “lethal

parody” that negatively impacts demand for the original by casting it in a negative light is not




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cognizable under Copyright law. Id. (citation omitted). In this context, the Supreme Court noted

that Sun had made numerous prior “efforts to move into the mobile phone market,” and that

“Android was not a market substitute for [Sun’s] Java[] software.” Google, 593 U.S. at 36–37.

Sun’s failed attempts to enter the mobile phone market bore on the question of whether the harm

it suffered was due to market substitution. Here, by contrast, whether The Times has ever tried to

develop an LLM for its own internal use has no bearing on the market substitution inquiry: The

substitution at issue comes from Defendants’ model outputs, which are the result of their copying

Times works and may closely summarize and/or repeat them verbatim. Stated differently,

OpenAI’s attempt to excuse its own infringement of The Times works by baselessly pointing to

The Times’s alleged infringement of others’ works is a non-starter.

       The Supreme Court’s other observation—that “Sun executives thought that widespread use

of the Java programming language,” including on Google’s Android platform, “would benefit the

company”—considers the benefit from Google’s use. See Google, 593 U.S. at 31. Consistent with

that consideration, The Times has already agreed to produce discovery regarding the impact of

Defendants’ generative AI tools on The Times’s journalism and revenue. However, OpenAI seeks

to go further and compel the production of materials relating to The Times’s use of non-Defendant

generative AI tools which, as already explained, is irrelevant to the market harm inquiry.

       OpenAI’s reliance on the Google Court’s observations fails for an additional reason: the

Supreme Court was not ruling on whether the evidence was discoverable or admissible; thus, any

language bearing on those inquiries is merely dicta. See Shand v. Kijakazi, 2023 WL 8379173, at

*2 n.1 (S.D.N.Y. Dec. 4, 2023) (“It is well understood that ‘dicta’ are the ‘[t]he things the court

said, not what it held; and only what a court holds is binding . . . in subsequent cases.’” (alteration

and omission in original) (internal quotation marks omitted)). Comments made in dicta cannot




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establish that a court’s ruling was clearly erroneous or contrary to the law. See Winfield v. City of

New York, 2017 WL 5054727, at *3 (S.D.N.Y. Nov. 2, 2017) (concluding that the magistrate

judge’s decision “was not contrary to law” where there was an “absence of any contravening

binding authority” (emphasis added)).

       Thus, the Court did not clearly err in ruling that OpenAI’s outstanding discovery requests

were irrelevant to the market harm inquiry.

III.   OpenAI’s Requests Are Not Relevant to Assessing the Transformativeness or Public
       Benefit of OpenAI’s Unauthorized Uses of Times Content.
       Third, OpenAI contends that the Court clearly erred in ruling that The Times’s use of, and

comments about, “generative AI generally” were not relevant to the transformative or public

benefit prongs. See Dkt. 344 at 5. However, this argument fails for the very same reasons discussed

supra Section II.

       The issue of transformativeness is relevant to the first fair use factor, which assesses “the

purpose and character of the use, including whether such use is of a commercial nature.” 17 U.S.C.

§ 107(1). The central question is “the extent to which the secondary use is transformative.”

Hachette Book Group, Inc., 115 F.4th at 179 (emphasis added). In making this assessment, courts

consider “whether the copier’s use ‘adds something new, with a further purpose or different

character, altering’ the original, infringed copyrighted work ‘with new expression, meaning or

message.’” Google, 593 U.S. at 29 (quoting Campbell, 510 U.S. at 579). Similarly, when analyzing

the fourth fair use factor, courts assess “the public benefits the copying will likely produce.” Id. at

35 (emphasis added). Courts typically balance “the benefit the public will derive if the use is

permitted and the personal gain the copyright owner will receive if the use is denied.” MCA, Inc.

v. Wilson, 677 F.2d 180, 183 (2d Cir. 1981).




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       As with the market harm inquiry, the relevant use at issue here is OpenAI’s unauthorized

use and copy of The Times’s asserted works. See Google, 593 U.S. at 29, 35. And again, OpenAI

fails to demonstrate how The Times’s use or comments about non-Defendant generative AI tools

is relevant to the transformative or public benefit prongs. See Andy Warhol Found., 598 U.S. at

509 (noting that the first fair use factor “considers the reasons for, and nature of, the copier’s use

of an original work”); Hachette Book Group Inc., 115 F.4th at 179 (noting that in assessing the

first fair use factor, courts consider “the extent to which the secondary use is transformative”).

Likewise, OpenAI does not (and cannot) explain how The Times’s use of nonparties’ generative

AI tools—which may differ significantly in purpose and design from Defendants’ products—is

relevant to the determination of whether OpenAI’s secondary use “adds something new” to The

Times’s publications, Andy Warhol Found., 598 U.S. at 509, or demonstrates “the public benefits

[that OpenAI’s] copying will likely produce, Google, 593 U.S. at 35. And, given that OpenAI

“bears the initial burden of demonstrating relevance and proportionality,” its failure to articulate

an adequate theory of relevance is fatal to its request. Winfield v. City of New York, 2018 WL

840085, at *3 (S.D.N.Y. Feb. 12, 2018).

       To the extent that OpenAI claims that The Times’s use of, or comments about, OpenAI’s

generative AI tools might be relevant to the transformative or public benefits prong, The Times

has already agreed to produce such evidence. See Ex. 2. Therefore, “[b]ecause Defendant has not

demonstrated the relevance of the [remainder of the] information sought,” the Court did not clearly

err in denying OpenAI’s motion to compel. Dkt. 344 at 2.

IV.    OpenAI’s Requests Are Not Relevant to Damages.

       Fourth, OpenAI argues that its outstanding discovery requests are relevant to establish the

“objective reasonableness” of its conduct and its reliance on the fair use doctrine, which allegedly

bear on The Times’s entitlement to damages. Dkt. 363 at 20. The Times has already agreed to


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produce non-privileged documents and communications relating to any relevant internal analyses,

discussions, or evaluations regarding whether OpenAI’s alleged use may constitute fair use—viz.,

the very evidence that OpenAI seeks to establish the “objective reasonableness” of its conduct. See

Pearson Educ., Inc. v. Chegg, Inc., 2023 WL 3775317, at *7 (D.N.J. June 2, 2023) (“Under these

circumstances, discovery into whether [plaintiff] believed that [defendant’s] solutions were non-

infringing under industry custom and practice is directly relevant to [defendant’s] fair use

defense.”). And given that The Times has not developed its own LLMs, OpenAI’s assertion that

The Times relied on the very same fair use defense is complete fiction. Ex. 1 ¶¶ 3, 5. Its attempt

to seek discovery to show otherwise is nothing more than “pure speculation that amount[s] to

nothing more than a fishing expedition.” Fed. Trade Commission v. BlueHippo Funding, LLC,

2016 WL 10571896, at *1 (S.D.N.Y. Apr. 19, 2016) (citation omitted).

       Moreover, as discussed supra, none of OpenAI’s outstanding requests are relevant to its

fair use defense. Given that the requested evidence cannot, as a matter of a law, support OpenAI’s

affirmative defense, it follows that it cannot inform Defendants’ alleged reliance on the doctrine.

Cf. Castle Rock Entm’t v. Carol Pub. Grp., Inc., 955 F. Supp. 260, 267 (S.D.N.Y. 1997) (finding

willfulness where the defendants had constructive notice of the infringement because they had

experience with the copyright laws and the work included copyright information, as well as actual

notice of the infringement but continued to publish and distribute the work); Sec. Pac. Mortg. &

Real Est. Servs., Inc. v. Canadian Land Co. of Am., N.V., 690 F. Supp. 1214, 1225 (S.D.N.Y. 1988)

(“[E]ach of the affirmative defenses sought to be supported by discovery is deficient as a matter

of law. No amount of discovery could establish a valid defense on any of the grounds asserted.”).

Thus, the Court did not clearly err in denying OpenAI’s motion to compel on this basis.




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                                      CONCLUSION

       For the foregoing reasons, The Times respectfully requests the Court affirm Magistrate

Judge Wang’s November 22, 2024 Order.



Dated: January 17, 2025                   /s/ Ian Crosby

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